Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 1 of 19 Page ID #59



  NEW YORK STATE DEPARTMENT
  OF FINANCIAL SERVICES


  In the Matter of


  DEUTSCHE BANK AG,

  DEUTSCHE BANK AG NEW YORK BRANCH



                                CONSENT ORDER UNDER

                           NEW YORK BANKING LAW §§ 39 and 44


         The New York State Department of Financial Services (the “Department”), Deutsche

  Bank AG (“Deutsche Bank” or the “Bank”), and Deutsche Bank AG New York Branch (“New

  York Branch”) stipulate that:

         WHEREAS Deutsche Bank is a major international banking institution with more than

  98,000 employees and total assets exceeding $1.9 trillion;

         WHEREAS Deutsche Bank operates a foreign bank branch in New York State that is

  licensed, supervised, and regulated by the Department;

         WHEREAS Deutsche Bank Trust Company Americas (“DBTCA”), a subsidiary of

  Deutsche Bank AG, is chartered pursuant to Article III of the New York Banking Law and

  subject to supervision and regulation by the Department;

         WHEREAS during the relevant time period, both the New York Branch and DBTCA

  (collectively, “Deutsche Bank New York”) conducted correspondent banking and U.S. dollar

  clearing activities, as explained more fully below;
Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 2 of 19 Page ID #60



         WHEREAS from at least 1999 through 2006, Deutsche Bank used non-transparent

  methods and practices to conduct more than 27,200 U.S. dollar clearing transactions1 valued at

  over $10.86 billion on behalf of Iranian, Libyan, Syrian, Burmese, and Sudanese financial

  institutions and other entities subject to U.S. economic sanctions, including entities on the

  Specially Designated Nationals (“SDN”) List of the U.S. Treasury Department’s Office of

  Foreign Assets Control (“OFAC”);2

         WHEREAS the Bank effectively concealed the relationship of a sanctioned or possibly-

  sanctioned party to the transactions by knowingly processing these non-transparent transactions

  using methods such as (i) removing from SWIFT payment messages3 information that identified

  an underlying party to the transaction as an entity subject to U.S. sanctions; (ii) using non-

  transparent cover payments, which enabled the bank to send payment messages to the U.S. that

  did not include information identifying an underlying party to the transactions as a possibly-

  sanctioned entity; and (iii) including notes or code words, or instructing customers to include

  notes or code words, in payment messages to ensure bank staff employed special processing to

  hide any sanctions relationship before sending the payments to the U.S.;

         WHEREAS by knowingly processing transactions involving sanctioned entities using

  non-transparent methods, Deutsche Bank failed to maintain accurate records as to those

  transactions, subverted Deutsche Bank New York’s and correspondent banks’ controls designed



  1	
         U.S. dollar clearing is the process by which U.S. dollar-denominated payments between
         counterparties are made through a bank in the United States.
  2	
         Deutsche Bank reported, employing extrapolation methodology to the transaction messages
         reviewed, that over 600 of those transactions valued at more than $38 million were illegal under
         various U.S. Sanctions and other programs.
  3	
         The Society of Worldwide Interbank Financial Telecommunications, or SWIFT, provides an
         international network through which banks exchange electronic wire transfer messages. SWIFT
         messages contain various informational fields.

                                                     2

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 3 of 19 Page ID #61



  to detect possibly illegal transactions, and prevented effective review by regulators and other

  authorities;

          WHEREAS Deutsche Bank’s conduct ran counter to U.S. foreign policy and national

  security interests, constituted violations of New York and federal laws and regulations, and

  raises substantial safety and soundness concerns;

          NOW THEREFORE, to resolve this matter without further proceedings pursuant to the

  Superintendent’s authority under Sections 39 and 44 of the Banking Law, the Department and

  Deutsche Bank agree to the following:

                                        Factual Background

  Use of Wire Stripping and Non-Transparent Cover Payments to Disguise Transactions

          1.     Starting at least in 1999, Bank employees recognized that U.S. sanctions rules,

  which applied at that time or over the course of subsequent years to Iranian, Syrian, Libyan,

  Burmese, or Sudanese customers or to customers who were listed on OFAC’s SDN list, would

  pose problems for U.S. dollar payments sent to or cleared through the U.S., including clearing

  done through Deutsche Bank New York. Payments involving sanctioned entities were subject to

  additional scrutiny and might be delayed, rejected, or frozen in the United States. In order to

  facilitate what it saw as “lucrative” U.S. dollar business for sanctioned customers, Bank

  employees developed and employed several processes to handle dollar payments in non-

  transparent ways that circumvented the controls designed to detect potentially-problematic

  payments.

          2.     One method was wire stripping, or alteration of the information included on the

  payment message. Bank staff in overseas offices handling Message Type 103 serial payment

  messages, or MT103s, removed information indicating a connection to a sanctioned entity before



                                                   3

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 4 of 19 Page ID #62



  the payment was passed along to the correspondent bank in the U.S.4 With any potentially-

  problematic information removed (or, as was done in some cases, replaced with innocuous

  information, such as showing the bank itself as the originator), the payment message did not

  raise red flags in any filtering systems or trigger any additional scrutiny or blocking that

  otherwise would have occurred if the true details were included.

          3.     A second method was the use of non-transparent cover payments. The cover

  payment method involved splitting an incoming MT103 message into two message streams: an

  MT103, which included all details, sent directly to the beneficiary’s bank, and a second message,

  an MT202, which did not include details about the underlying parties to the transaction, sent to

  Deutsche Bank New York or another correspondent clearing bank in the U.S. In this way, no

  details that would have suggested a sanctions connection and triggered additional delay,

  blocking, or freezing of the transactions were included in the payment message sent to the U.S.

  bank.

          4.     Bank employees recognized that these handling processes were necessary in order

  to evade the sanctions-related protections and controls of Deutsche Bank New York and other

  correspondents. For example, a relationship manager who handled significant business for

  Iranian, Libyan, and Syrian customers explained the need for special measures as follows, in a

  2003 email to colleagues: The Bank employs “specific precautionary measures that require a

  great deal of expertise” because “[i]f we make a mistake, the amounts to be paid could be frozen

  in the USA and/or DB’s business interests in the USA could be damaged.” Or as the Assistant

  Vice President who oversaw payments processing explained to a colleague who inquired about



  4
          A serial payment consisted of a SWIFT MT103 sent from the ordering customer’s bank through a
          correspondent bank and on to the beneficiary’s bank.

                                                    4

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 5 of 19 Page ID #63



  Iranian payments, the Bank needed to employ “the tricks and cunning of MT103 and MT202”

  because of the U.S. sanctions restrictions otherwise applicable to sanctions-related payments.

         5.      Therefore, as explained in another email summing up the process for handling

  Iran-related payments, the Bank’s preferred method was to process a payment using the cover

  payment method, and when that was not possible, “we will arrange for the order to be

  dropped . . . into a further repair queue, where the references to the principal will then be

  eliminated.”

         6.      As new sanctioned customers were brought into the fold, or as newly-enacted

  U.S. sanctions programs affected existing customers, these processes were extended so as to

  ensure that payments did not encounter U.S.-based sanctions problems. For example, when

  Bank staff learned that possible new U.S. sanctions might affect certain Syrian customers, they

  discussed how Syrian payment orders “must be ‘anonymised’ in the same way as orders from

  Iran or Libya, i.e. coverage without mention of Syria can be directed via USA and the order is

  made directly to the beneficiary’s bank.”

         7.      On some occasions, payments that were rejected by Deutsche Bank New York

  due to a suspected sanctions connection were simply resubmitted to a different U.S.

  correspondent by the overseas office. Alternatively, some payments that were rejected in the

  U.S. when they were sent as MT103 serial payments (which included details about the

  underlying parties) were then resubmitted as MT202 cover payments – in other words, since the

  information included on the more detailed message caused the rejection, the overseas office

  simply sent the payment again using the less transparent method.

         8.      The special processing that the Bank used to handle sanctioned payments was

  anything but business as usual; it required manual intervention to identify and process the



                                                    5

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 6 of 19 Page ID #64



  payments that needed “repair” so as to avoid triggering any sanctions-related suspicions in the

  U.S. Indeed, on occasion, customers whose payments received this special processing

  questioned the extra fees the bank was charging for the manual processing. They were told that

  this is what was necessary in order to circumvent the U.S.-based sanctions controls.

         9.      The Bank instituted a series of policies starting in 2006 to end these practices and

  wind down business with U.S.-sanctioned entities. However, some instances of resubmitting

  rejected payments or processing sanctions-related payments through New York persisted even

  after the formal policies were instituted.


  Bank Staff Coordinated With Sanctioned Customers to Conceal True Details About Payments


         10.     Bank relationship managers and other employees worked with the Bank’s

  sanctioned customers in the process of concealing the details about their payments from U.S.

  correspondents.

         11.     During site visits, in emails, and during phone calls, clients were instructed to

  include special notes or code words in their payment messages that would trigger special

  handling by the bank before the payment was sent to the United States. Sanctioned customers

  were told “it is essential for you to continue to include [the note] ‘Do not mention our bank’s

  name…’ in MT103 payments that may involve the USA. [That note] ensures that the payments

  are reviewed prior to sending. Otherwise it is possible that the [payment] instruction would be

  sent immediately to the USA with your full details. . . . [This process] is a direct result of the US

  sanctions.” Customers, in turn, included notes in free-text fields of SWIFT messages such as

  “Please do not mention our bank’s name or SWIFT code in any msg sent via USA,” “PLS

  DON’T MENTION THE NAME OF BANK SADERAT IRAN OR IRAN IN USA,” or “THE

  NAME BANK MELLI OR MARKAZI SHOULD NOT BE MENTIONED . . . IMPORTANT:

                                                    6

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 7 of 19 Page ID #65



  NO IRANIAN NAMES TO BE MENTIONED WHEN MAKING PAYMENT TO NEW

  YORK.”

          12.     But the Bank did not rely on the customer notes and code words alone; the Bank’s

  payments processing staff were instructed to be on the lookout for any payment involving a

  sanctioned entity and ensure that no name or other information that might arouse sanctions-

  related suspicions was sent to the U.S. correspondents, even if the customer failed to include a

  special note to that effect.

          13.     In fact, the Bank’s “OFAC-safe” handling processes and its experience in

  handling sanctions-related payments were selling points when soliciting new business from

  customers subject to U.S. sanctions. On one occasion, a relationship manager visiting a Syrian

  bank during a time when the U.S. was considering instituting certain Syrian sanctions pitched

  Deutsche Bank’s “OFAC-safe vehicles,” and when the client mentioned possibly splitting its

  business among several Asia-based banks, the relationship manager “highlighted that the Asian

  banks in general are not very familiar with OFAC procedures [and] [a]sked them to consider

  who their friends will be in the longer run, DB or Asian banks.” In another instance, after

  Deutsche Bank staff responded to a client inquiry about handling U.S. dollar payments relating

  to Iran and Syria with a favorable “OFAC safe” solution, the Bank relationship manager reported

  that the client was so pleased that it “used the opportunity to enquire whether we can also do

  USD payments into Burma/Myanmar.”


  Deutsche Bank’s Practice Was Widespread and Formalized, But Care Was Taken Not to Make
  Too Much “Noise” About the Practice or the Business the Bank Was Handling


          14.     The practice of non-transparent payment processing was not isolated or limited to

  a specific relationship manager or small group of staff. Rather, Bank employees in many


                                                   7

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 8 of 19 Page ID #66



  overseas offices, in different business divisions, and with various levels of seniority were

  actively involved or knew about it.

         15.     In addition, some evidence indicates that at least one member of the Bank’s

  Management Board was kept apprised about and approved of the Bank’s business dealings with

  customers subject to U.S. sanctions.

         16.     Certain non-U.S. employees, especially those who managed relationships with a

  high number of Iranian, Libyan, or Syrian clients or who regularly processed U.S. dollar

  payments for sanctioned customers, were considered experts in the bank’s “OFAC-safe”

  handling procedures. They regularly educated colleagues in other branches or in other divisions

  outside the U.S. about handling U.S. dollar payments.

         17.     Moreover, the Bank disseminated formal and informal written instructions

  emphasizing the need for utmost care to ensure that no sanctions-related information was

  included in U.S.-bound payment messages and setting out the various methods to use when

  processing sanctions-related payments.

         18.     For example, Deutsche Bank staff told investigators that during the earlier part of

  the relevant time period, an internal customer database included notes for certain sanctioned

  customers indicating that their name must not be referenced in payment messages sent to the

  U.S.

         19.     Later, Bank payments processing employees prepared a training manual for

  newly-hired payments staff in an overseas office. The manual included a section titled “US

  Embargo Payments” that explained how to handle payments with a sanctions connection. An

  early draft included a warning, in bolded text: “Special attention has to be given to orders in

  which countries/institutes with embargos are involved. Banks under embargo of the US (e.g.,



                                                   8

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 9 of 19 Page ID #67



  Iranian banks) must not be displayed in any order to [Deutsche Bank New York] or any other

  bank with American origin as the danger exists that the amount will be frozen in the USA.”

         20.     A revised version of the payments manual admonished that payments from Iran

  and Syria “have to be treated with caution as [ ] the payment gets released from the queue; there

  is a probability that the funds will be frozen by the Federal Reserve thereby causing financial and

  reputation loss for the Bank.” A later version of the manual noted that the payment message

  might include key words such as “Embargo” or “Do not pay via US,” but it also cautioned

  employees that code words might not necessarily be present. In any event, non-U.S. employees

  were instructed that information linking a customer to a U.S. sanctions program must not be

  displayed in any message sent to Deutsche Bank New York or any other American bank. The

  preference, they were told, was to send two messages (that is, to use the cover payment method),

  but if that was not possible, they must reformat the message so that it gets routed for additional

  repair and reformatting “in such a way that the Embargo names are not visible to the receiving

  US banks.” The manual included computer screenshots illustrating how these problematic

  messages might appear and how to handle them.

         21.     Moreover, less formal instructions were disseminated to certain staff via email

  throughout the relevant time period. In one email chain regarding possible recruitment of a new

  customer with Libyan connections, Bank staff were cautioned to “please be careful in regard to

  the US, since it does violate OFAC,” and were told, “please do not mention OFAC names in the

  subject line of e-mails!” In another instance, when certain U.S. regulations against a Syrian bank

  were imposed in 2004, relevant employees were told: “Let us be very careful while effecting

  USD denominated transaction[s] with Syria. In case we have to effect any USD denominated

  remittance to Syria, please ensure that name of Syria should not appear in the message.”



                                                   9

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 10 of 19 Page ID #68



           22.   At the same time, Bank staff took care to avoid publicizing details about their

  non-transparent payments handling, both within and outside the bank. Employees recognized the

  legal and reputational concerns and acted to keep the payment handling methods – and indeed

  the fact of the bank’s business dealings with sanctioned entities in general – on a need-to-know

  basis.

           23.   For example, one non-U.S. relationship manager who asked for advice about U.S.

  dollar processing was told, “Please be informed that any info on OFAC-safe business patterns

  (THAT DB does it and HOW DB does it) is strictly confidential information. Compliance does

  not want us to distribute such info to third parties, and forbids us explicitly to do so in any

  written or electronic form.” In another email, a senior compliance executive with oversight of

  this area told a non-U.S. relationship manager who was asking about the possibility of doing

  business with a Syrian customer that Compliance “agreed to do business on a low key level

  without public announcements etc.” Later, when that relationship manager was offering advice

  to another non-U.S. colleague about assisting a client who needed to make and receive U.S.

  dollar payments with Iranian and Syrian connections, he cautioned his colleague: “As usual, let’s

  not revert to the client in writing due to the reputational risk involved if the e-mail goes to wrong

  places. Someone should call [the client] and tell them orally and ensure that the conversation is

  not taped. . . . Let’s also keep this e-mail strictly on a ‘need-know’ basis, no need to spread the

  news in [Deutsche Bank’s Asian offices about] what we do under OFAC scenarios.”

           24.   Around the same time, that same relationship manager told another non-U.S.

  colleague: “Please note that while DB is prepared to do business with Syria, we obviously have

  sizeable business interests in the US, too, which DB wants to protect. So any Syrian transaction

  should be treated STRICTLY confidential and should involve any colleagues on a ‘Must-Know’



                                                    10

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 11 of 19 Page ID #69



  basis only! . . . [W]e do not want to create any publicity or other ‘noise’ in the markets or

  media.”

         25.     In addition, while one of the main purposes of the nontransparent practices was to

  keep the Bank’s U.S. staff in the dark about the sanctions connections of the payments they were

  processing, Deutsche Bank New York staff occasionally raised objections to the Bank’s business

  relationship with U.S.-sanctioned parties based on U.S. law. Their European colleagues,

  however, did nothing to stop the practice but instead redoubled their efforts to hide the details

  from their American colleagues. For example, a relationship manager who did significant

  business with Iranian and Syrian customers complained to his boss that colleagues in the Middle

  East “participated in a major conference call with senior management of [Deutsche Bank New

  York] and provided an overview of DB’s account activities with Syria outside the U.S. Senior

  management of [Deutsche Bank New York] complained strongly to DB Frankfurt that they see

  this as a breach of law.” The relationship manager viewed this incident not as a prompt to re-

  examine the bank’s Syrian business, however, but rather as indicating a need to better train the

  non-U.S. staff who handle the “very lucrative” Syrian and Iranian business to ensure such

  disclosures do not occur in the future.


                                 Violations of Law and Regulations


         26.     Deutsche Bank failed to maintain or make available at Deutsche Bank New York

  true and accurate books, accounts, and records reflecting all transactions and actions, in violation

  of New York Banking Law §§ 104 and 200-c.

         27.     Deutsche Bank employees knowingly made and caused to be made false entries in

  the Bank’s books, reports, and statements and omitted and caused to be omitted therefrom true

  entries of material particular pertaining to the U.S. dollar clearing business of the Bank at

                                                   11

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 12 of 19 Page ID #70



  Deutsche Bank New York, with the intent to deceive the Superintendent and examiners of the

  Department and representatives of other U.S. regulatory agencies that were lawfully appointed to

  examine the Bank’s condition and affairs, in violation of 3 NYCRR § 3.1.

         28.     Deutsche Bank failed to submit a report to the Superintendent immediately upon

  discovering fraud, dishonesty, making of false entries and omission of true entries, or other

  misconduct, whether or not a criminal offense, in violation of 3 NYCRR § 300.1.


                                         Settlement Provisions


  Monetary Payment:


         29.     Deutsche Bank shall pay a civil monetary penalty pursuant to Banking Law § 44

  to the Department in the amount of $200,000,000. The Bank shall pay the entire amount within

  ten days of executing this Consent Order. Deutsche Bank agrees that it will not claim, assert, or

  apply for a tax deduction or tax credit with regard to any U.S. federal, state, or local tax, directly

  or indirectly, for any portion of the civil monetary penalty paid pursuant to this Consent Order.


  Independent Monitor


         30.     The Bank5 and the Department agree to retain an independent monitor for one

  year to conduct a comprehensive review of the Bank’s existing BSA/AML and OFAC sanctions

  compliance programs, policies, and procedures in place at the Bank that pertain to or affect

  activities conducted by or through Deutsche Bank New York.

         31.     The monitor will be selected by the Department in the exercise of its sole

  discretion, and will report directly to the Department.


  5
         For purposes of Paragraphs 30-40, “the Bank” shall mean Deutsche Bank AG, Deutsche Bank
         AG New York Branch, and DBTCA.

                                                    12

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 13 of 19 Page ID #71



         32.     Among other things, the monitor will review and report on:

                 a.	 The elements of the Bank’s corporate governance that contributed to or

                    facilitated the improper conduct discussed in this Consent Order and that

                    permitted it to go on, relevant changes or reforms to its corporate governance

                    that the Bank has made since the time of the conduct discussed in this Consent

                    Order, and whether those changes or reforms are likely to significantly

                    enhance the Bank’s BSA/AML and OFAC compliance going forward;

                 b.	 The thoroughness and comprehensiveness of the Bank’s current global

                    BSA/AML and OFAC compliance program;

                 c.	 The organizational structure, management oversight, and reporting lines that

                    are relevant to BSA/AML and OFAC compliance, and an assessment of the

                    staffing of the BSA/AML and OFAC compliance teams, including the duties,

                    responsibilities, authority, and competence of officers or employees

                    responsible for the Bank’s compliance with laws and regulations pertaining to

                    BSA/AML or OFAC compliance;

                 d.	 The propriety, reasonableness, and adequacy of any proposed, planned, or

                    recently-instituted changes to the Bank’s BSA/AML and OFAC compliance

                    programs;

                 e.	 Any corrective measures necessary to address identified weaknesses or

                    deficiencies in the Bank’s corporate governance or its global BSA/AML and

                    OFAC compliance program.

         33.     The Bank agrees that it will fully cooperate with the monitor and support its work

  by, among other things, providing the monitor with access to all relevant personnel, consultants



                                                 13

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 14 of 19 Page ID #72



  and third-party service providers, files, reports, or records, whether located in New York,

  Germany, or elsewhere, consistent with applicable law.

         34.     Within forty-five days of receiving the monitor’s preliminary written report on its

  findings, the Bank will submit to the Department a written plan to improve and enhance the

  current global BSA/AML and OFAC compliance program that pertains to or affects activities

  conducted by or through Deutsche Bank New York, incorporating any relevant corrective

  measures identified in the monitor’s report (the “Action Plan”).

         35.     The Action Plan will, if required, provide recommendations for enhanced internal

  controls and updates or revisions to current policies, procedures, and processes in order to ensure

  full compliance with all applicable provisions of the BSA and related rules and regulations,

  OFAC requirements and regulations, and the provisions of this Consent Order. If so provided by

  the monitor, and upon written consent of the Department, the Bank will commence

  implementation of the monitor’s recommendations.

         36.     Within forty-five days of receiving the monitor’s preliminary written report of

  findings, the Bank will submit to the Department a written plan to improve and enhance

  management oversight of BSA/AML and OFAC compliance programs, policies, and procedures

  now in place at the Bank that pertain to or affect activities conducted by or through Deutsche

  Bank New York, incorporating any relevant corrective measures identified in the monitor’s

  report (the “Management Oversight Plan”).

         37.     The Management Oversight Plan will address relevant matters identified in the

  monitor’s written report of findings and provide a sustainable management oversight framework.

  Upon written consent from the Department, the Bank will commence implementation of the

  changes.



                                                  14

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 15 of 19 Page ID #73



         38.     The monitor will thereafter oversee the implementation of any corrective

  measures undertaken pursuant to the Action Plan and Management Oversight Plan.

         39.     Finally, the monitor will assess the Bank’s compliance with its corrective

  measures and will submit subsequent progress reports and a final report to the Department and

  the Bank, at intervals to be determined by the Department. The Department may, in its sole

  discretion, extend any reporting deadline set forth in this section.

         40.     The term of the monitor’s engagement will extend for one year from the date of

  the formal engagement. Any dispute as to the scope of the monitor’s authority or mandate will

  be resolved by the Department in the exercise of its sole discretion, after appropriate consultation

  with the Bank and the monitor.


  Termination of Employees:


         41.     While several of the Bank employees who were centrally involved in the

  improper conduct discussed in this Consent Order no longer work at the Bank, several such

  employees do remain employed by the Bank.

         42.     The Department orders Deutsche Bank to take all steps necessary to terminate the

  following employees, who played central roles in the improper conduct discussed in this Consent

  Order: a managing director in Global Transactions Banking who was assigned the code number

  24; a managing director in Operations who was assigned the code number 325; a director in

  Operations who was assigned the code number 7; a director in Corporate Banking and Securities

  who was assigned the code number 11; a vice president in Global Transactions Banking who was

  assigned the code number 1; and a vice president and relationship manager who was assigned the

  code number 30. If, after Deutsche Bank has taken whatever action is necessary to terminate

  these employees, a judicial or regulatory determination or order is issued finding that such action

                                                   15

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 16 of 19 Page ID #74



  is not possible under German law, then Deutsche Bank shall ensure, consistent with applicable

  law, that these employees are not allowed to hold or assume any duties, responsibilities, or

  activities involving compliance, U.S. dollar payments, or any matter relating to U.S. operations.

         43.     With respect to the employees who were assigned code numbers 26, 28, and 32,

  Deutsche Bank shall ensure, consistent with applicable law, that these employees are not allowed

  to hold or assume any duties, responsibilities, or activities involving compliance, U.S. dollar

  payments, or any matter relating to U.S. operations.

         44.     The Department also orders Deutsche Bank to refrain from ever rehiring for any

  full-time, part-time, or consulting position the following employees, who played central roles in

  the conduct discussed in this Consent Order but who previously left the Bank: the employees

  who were assigned the code numbers 15, 20, 29, 34, 35, 37, 71, 75, 80, and 124.


  Breach of Consent Order:


         45.     In the event that the Department believes Deutsche Bank to be in material breach

  of the Consent Order, the Department will provide written notice to Deutsche Bank, and the

  Bank must, within ten business days of receiving such notice, or on a later date if so determined

  in the Department’s sole discretion, appear before the Department to demonstrate that no

  material breach has occurred or, to the extent pertinent, that the breach is not material or has

  been cured.

         46.     The parties understand and agree that Deutsche Bank’s failure to make the

  required showing within the designated time period shall be presumptive evidence of the Bank’s

  breach. Upon a finding that Deutsche Bank has breached this Consent Order, the Department

  has all the remedies available to it under New York Banking and Financial Services Law and

  may use any evidence available to the Department in any ensuing hearings, notices, or orders.

                                                   16

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 17 of 19 Page ID #75



  Waiver of Rights:


         47.     The parties understand and agree that no provision of this Consent Order is

  subject to review in any court or tribunal outside the Department.


  Parties Bound by the Consent Order:


         48.     This Consent Order is binding on the Department and Deutsche Bank, as well as

  any successors and assigns that are under the Department’s supervisory authority. But this

  Consent Order does not bind any federal or other state agency or any law enforcement authority.

         49.     No further action will be taken by the Department against Deutsche Bank for the

  conduct set forth in the Consent Order, provided that the Bank complies with the terms of the

  Consent Order.

         50.     Notwithstanding any other provision in this Consent Order, however, the

  Department may undertake additional action against Deutsche Bank for transactions or conduct

  that the Bank did not disclose to the Department in the written materials the Bank submitted to

  the Department in connection with this matter.


  Notices:


         51.     All notices or communications regarding this Consent Order shall be sent to:

  For the Department:

         James Caputo

         Jared Elosta

         New York State Department of Financial Services

         One State Street

         New York, NY 10004


  For Deutsche Bank:


                                                   17

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 18 of 19 Page ID #76



         Christof von Dryander

         Deputy General Counsel

         Deutsche Bank AG

         Taunusanlage 12

         60325 Frankfurt Am Main, Germany


         Alan Vinegrad

         Covington & Burling LLP

         620 Eighth Avenue

         New York, NY 10018



  Miscellaneous:


         52.    Each provision of this Consent Order shall remain effective and enforceable until

  stayed, modified, suspended, or terminated by the Department.

         53.    No promise, assurance, representation, or understanding other than those

  contained in this Consent Order has been made to induce any party to agree to the provisions of

  the Consent Order.




                                                 18

Case 3:16-cv-00497-MJR-SCW Document 1-1 Filed 05/04/16 Page 19 of 19 Page ID #77




    IN WITNESS WHEREO.F, the pat1ies have caused this Consent Order to be signed this third
    day ofNovember, 2015.


    DEUTSC - E BANK AG                            NEW YORK STATE DEPARTMENT OF
                                                  FINANCIAL SERVICES




     By _Lj -(iA/iY
    MAJHIAS OTTO
    Deputy General Counsel



     DEUTSCHE BANK AG NEW YORK BRANCH


        t~r1~
     ST~~NREICH
     By

     Gctrcral Counsel - Americas


     By:  fJJ L__.__
     DAVID LEVINE
     Managing Director, Legal




                                                19 

